Case 4:09-cv-00101-WTM-GRS Document 1-4 Filed 06/09/09 Page 1 of 7




              i          tl
                       u.u•,j____u
 Case 4:09-cv-00101-WTM-GRS Document 1-4 Filed 06/09/09 Page 2 of 7




                     IN THE STATE COURT OF CHATHAM COUNTY
                                STATE OF GEORGIA


 LYN N TOWNSEND, Individually
 and as Executrix Of the Estate
 of ROBERT P. TOWNSEND,

         Plaintiff

V.                                           CIVIL ACTION

ARON G. WEINER, as Administrator
of the Estate of SANDRA DELORES
B1JNTON and LAWRENCE BUNTON,

         Defendants.

                           PL4DJPP CO$PLA]:N1

         COMES NOW LYNN TOWNSEND, Individually and as Executrix of the
Estate of ROBERT P. TOWNSEND, and states her Complaint against the
Defendants, and shows the Court the following:

                                        I.

         The Defendant ARON G. WEINER, In his capacity as Administrator of the

Estate of SANDY DELORES BUNTON, is a resident of Chatham County, Georgia

and can be served with a copy of this Summons and Complaint at Weiner
Shearouse, Weitz, Greenberg & Shawe, 14 East State Street, Savannah, Georgia

31401.


         The Co-defendant and joint-tortfeasor LAWRFNCE BUNTON Is a resident

of Liberty County, Georgia and can be served with a copy of this Summons and

Complaint at 358 Pine Avenue, Midway, Georgia 31320.
      Case 4:09-cv-00101-WTM-GRS Document 1-4 Filed 06/09/09 Page 3 of 7




                                             3,
            Venue and jurisdiction are appropriate in this court.

                                             4.
            The Plaintiff LYNN TOWNSEND is a resident of Chatham County,

     Ocorgia,

                                             5'
           The Plaintiff is the widow of the decedent ROBERT P. TOWNSEND and has

     been appointed Executrix of his estate by the Probate Court of Chatham County,
     Georgia and she brings this action in her own individual capacity and in her

     representative capacity as Executrix of the Estate of ROBERT P. TOWNSEND.

                                             6.
            The Plaintiff and the decedent ROBERT P. TOWNSEND were married in
     Lawrence, Massachusetts on June 15, 1980. They raised two , children: Lauren
     Townsend and Robert L. Townsend. Their daughter graduated from college and
     is gainfully employed. Their son was a junior attending Penn State University.

     This marriage was the only marriage for the plaintiff and the decedent. Mr.

     Townsend was employed b y SABIC Innovative Plastics, USA, LLC as a plastics

     engineer. His annual income exceeded $ioo,000.00 per year and he had

     additional benefits of employment including a retirement plan. Hancock Day

     School employed the Plaintiff as an elementary schooled teacher.

                                             7,
           On or about May 31, 2008, the decedent ROBERT P. TOWNSEND and the

     Plaintiff herein LYNN TOWNSEND were occupying a 2008 Chevrolet Impala

     automobile proceeding towards Love's Seafood Restaurant. They were traveling
Li




                                                                                  8
      Case 4:09-cv-00101-WTM-GRS Document 1-4 Filed 06/09/09 Page 4 of 7

Ii




     on Highway 17 and were approaching the intersection of Silk Hope Road and

     Highway 17 in Chatham County, (eorgia. The decedent, ROBERT P.

     TOWNSEND was driving and the Plaintiff was in the front passenger seat.

                                             LZ


            Contemporaneously therewith, the decedent SANDRA DELORIES

     BUNTON was traveling north on Highway 17 approaching the intersection of Silk

     Hope load.



            Shortly before this time, the decedent SANDRA DELORES BUNTON had
     ingested large quantities of cocaine. Upon information and believe the plaintiff
     alleges that the decedent, Sandra Delores Bunton had withdrawn $2,000.00
     from the co-defendant's (her husband's) checking account that morning and used
     the $2,000.00 to purchase crack cocaine 'and ingested the same just shortly prior

     to the incident complained of this Complaint.


            Just as the Plaintiff, and her huaban4'wre entering the intersection of Silk
     Hope Road and Highway 17, the decedent SANDRA DELORES BUNTON, in her
     extremely intoxicated condition, caused her automobile to turn directly into the

     path of Plaintiffs automobile.



            Decedent ROBERT P. TOWNSEND attempted to stop but was unable to

     avoid the collision. As a result,. a violent collision occurred between the vehicle

     occupied by the Plaintiff and that occupied by the decedent SANDRA DELORES
 Case 4:09-cv-00101-WTM-GRS Document 1-4 Filed 06/09/09 Page 5 of 7




BUNTON. Robert Townsend was killed as result of the collision as was the

decedent SANDRA DELORES BUNTON.
                                        12.

       Plaintiff LYNN TOWNSEND suffered significant injuries, was transported

to the hospital where she received medical care for a period of time.



       The Plaintiff LYNN TOWNSEND sustained injuries as a result of the

accident and incurred significant medical bills, disabilities, injuries and pain and
suffering. She also suffered the severe emotional distress caused by her

experiencing the traumatic event in which her husband of many years was killed

in the incident
                                         14

       At all times pertinent hereto, the Defendant LAWRENCE BUNTON knew
or should have known that his wife and the decedent SANDRA DELORS
BUNTON was not safe driver due to her use of controlled substances while

driving, including but not limited to, cocaine and crack cocaine. Despite this

knowledge, be allowed and/or encouraged the decedent SANDRA DELORES
BUNTON to use the automobile in question which was owned by him for

purposes of driving to obtain quantities of controlled substances, including but

not limited to, cocaine and crack cocaine.



      The Defendant LAWRENCE BUNTON knew or should have known that

such activity caused her to be an unsafe driver, putting other motorists on the

highway at risk
 Case 4:09-cv-00101-WTM-GRS Document 1-4 Filed 06/09/09 Page 6 of 7




       The actions of the Defendant LAWRENCE BUNTON ShOW malice, fraud,

wantonness and oppression, willful misconduct, an entire want of care that raises

a presumption of conscious indifference to the consequences of his actions, and

accordingly the Plaintiff is entitled to an award of punitive damages against the

Defendant LAWRENCE BUN.:ON.


       The economic value of the life of the decedent ROBERT P. TOWNSEND

well exceeds $2,000,000.00 and approaches ,000,000.oO


       All the damages suffered by the Plaintiff individually and in her
representative capacity were proximately caused by the joint negligence and
gross negligence of the defendants and the plaintiff was wholly without fault in

regard to the same.

       WHEREFORE, Plaintiff prays for judgment against the Defendant ARON

G. WEINER as Administrator of the Estate of SANDRA DE CES BUNTON in
amounts to compensate her for the value of her husband's life, for the emotional

distress experienced by her as a result of experiencing her husband's violent

death, the loss of her relationship with her husband and for her own personal

Injuries, disabilities, pain and suffering and medical bills.

       As to the Defendant LAWRENCE .BUN !roN, the Plaintiff prays for
judgment against him for the value of her husband's life, loss of her relationship

with her husband, for the emotional distress experienced by her as a result of
Case 4:09-cv-00101-WTM-GRS Document 1-4 Filed 06/09/09 Page 7 of 7




experiencing her husband's violent death, pain and suffering, disabilities,

personal injuries medical bus and punitive damages

      Respectfully submitted this                                   2009.
                                        day Ofcfri4L
                                       DUFEY & FEEMSTE




                                      State Bar No. 257253
                                      Attorney for Plaintiff

P. 0. BOX 10144
Savannah, GA 31412
(912) 2366311
